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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                     4:12CR3021

       vs.
                                                          MEMORANDUM AND ORDER

JARED LANCE HOWE,

                      Defendants.


        Defendant has moved to continue the trial currently set for December 4, 2012. (Filing No.
58). As explained in the motion, the defendant's counsel needs to review the recently disclosed
404(b) evidence, may be filing a motion to suppress in light of that evidence, and needs
additional time to prepare for trial. The motion to continue is unopposed. Based on the showing
set forth in the motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      Defendant’s motion to continue, (filing no. 58), is granted.

       2)     The trial of this case is set to commence before the Honorable John M. Gerrard,
              United States District Judge, in Courtroom 1, United States Courthouse, Lincoln,
              Nebraska, at 9:00 a.m. on February 5, 2013, or as soon thereafter as the case may
              be called, for a duration of four (4) trial days. Jury selection will be held at
              commencement of trial.

       3)     Based upon the showing set forth in the defendant’s motion and the
              representations of counsel, the Court further finds that the ends of justice will be
              served by continuing the trial; and that the purposes served by continuing the trial
              date in this case outweigh the interest of the defendant and the public in a speedy
              trial. Accordingly, the additional time arising as a result of the granting of the
              motion, the time between today’s date and February 5, 2013, shall be deemed
              excludable time in any computation of time under the requirements of the Speedy
              Trial Act, because despite counsel’s due diligence, additional time is needed to
              adequately prepare this case for trial and failing to grant additional time might
              result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1) & (h)(7).


       November 17, 2012.
                                                    BY THE COURT:
                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge
